                                                           Case 2:20-cv-00579-JCM-DJA Document 13
                                                                                               10 Filed 05/06/20
                                                                                                        05/05/20 Page 1 of 4


                                                       1   SHUMWAY VAN
                                                           GARRETT R. CHASE, ESQ.
                                                       2   Nevada Bar No. 14498
                                                           8985 South Eastern Avenue, Suite 100
                                                       3   Las Vegas, Nevada 89123
                                                           Telephone: (702) 478-7770
                                                       4   Facsimile: (702) 478-7779
                                                           Email: garrett@shumwayvan.com
                                                       5   Attorneys for PlusFour, Inc.

                                                       6                              UNITED STATES DISTRICT COURT
                                                                                           DISTRICT OF NEVADA
                                                       7
                                                            MARK A. SMITHERMAN,
                                                       8                                                    Case No.: 2:20-cv-00579-JCM-DJA
                                                                                  Plaintiff,
                                                       9
                                                                   v.                               STIPULATION AND ORDER TO
                                                      10                                           EXTEND TIME FOR DEFENDANT
                                                            EXPERIAN INFORMATION SERVICES,       PLUSFOUR INC. TO FILE ANSWER TO
                                                      11    INC. EQUIFAX INFORMATION SERVICES,        PLAINTIFF’S COMPLAINT
Telephone: (702) 478-7770 Facsimile: (702) 478-7779




                                                            LLC, TRANS UNION, LLC, and PLUSFOUR,
                                                      12    INC.                                         (FIRST REQUEST)
       8985 South Eastern Avenue, Suite 100




                                                      13                          Defendants.
             Las Vegas, Nevada 89123




                                                      14

                                                      15          Plaintiff, MARK A. SMITHERMAN (“Plaintiff”) and Defendant PLUSFOUR, INC.
                                                      16   (“Defendant”) (collectively, the “Parties”), by and through their respective counsel of record,
                                                      17   hereby stipulate and agree as follows:
                                                      18          1. On March 24, 2020, Plaintiff filed his Complaint. Defendant, PLUSFOUR, INC, in the
                                                      19   United States District Court, District of Nevada, titled Mark A. Smitherman v. Experian
                                                      20   Information Solutions, Inc., Equifax Information Services, LLC, Trans Union, LLC, and PlusFour,
                                                      21   Inc., Case No. 2:20-cv-00579-JCM-DJA.
                                                      22          2. PlusFour, Inc. was served the Plaintiff’s Complaint on March 31, 2019 through a
                                                      23   registered agent and acknowledged receipt of service.
                                                      24          3. Defendant PlusFour’s deadline to answer was April 20, 2020.
                                                      25          4. Based on Governor Sisolak’s declaration of a public health state of emergency in Nevada
                                                      26   as a result of COVID-19, and the accompanying directive for non-essential businesses to shut
                                                      27   down, PlusFour, Inc. has suspended operations.
                                                      28          5. In light of the COVID-19 pandemic and office closings, PlusFour, Inc. and its counsel

                                                                                                     Page 1 of 4
                                                           Case 2:20-cv-00579-JCM-DJA Document 13
                                                                                               10 Filed 05/06/20
                                                                                                        05/05/20 Page 2 of 4


                                                       1   require additional time to investigate and respond to the allegations and claims made by Plaintiff.

                                                       2   Accordingly, the parties agree to grant PlusFour, Inc. an initial extension of the deadline to respond

                                                       3   to Plaintiff’s Complaint to May 19, 2020.

                                                       4          6. This Stipulation is made in good faith, not for the purposes of delay, and granting it will

                                                       5   not prejudice any party. This extension of time will allow PlusFour, Inc. time to investigate the

                                                       6   allegations and claims raised by Plaintiff’s Complaint, confer with counsel, and prepare its

                                                       7   response. This is Defendant PlusFour’s first request for an extension of time.

                                                       8          7. On April 27, 2020, PlusFour, Inc.’s counsel conferred with Plaintiff’s counsel regarding

                                                       9   the basis for this request and its need for an extension. Plaintiff’s counsel had no objections and

                                                      10   approved a 21-day extension in response to the request.

                                                      11   …
Telephone: (702) 478-7770 Facsimile: (702) 478-7779




                                                      12   …
       8985 South Eastern Avenue, Suite 100




                                                      13   …
             Las Vegas, Nevada 89123




                                                      14   …

                                                      15   …

                                                      16   …

                                                      17   …

                                                      18   …

                                                      19   …

                                                      20   …

                                                      21   …

                                                      22   …

                                                      23   …

                                                      24   …

                                                      25   …

                                                      26   …
                                                      27   …

                                                      28   …

                                                                                                        Page 2 of 4
                                                           Case 2:20-cv-00579-JCM-DJA Document 13
                                                                                               10 Filed 05/06/20
                                                                                                        05/05/20 Page 3 of 4


                                                       1          WHEREAS, the parties hereby stipulate and agree, pursuant to LR IA 6-2, , that Defendant

                                                       2   PlusFour’s time to answer, move or otherwise respond to Plaintiff’s Complaint in this action is

                                                       3   extended through and including May 19, 2020.
                                                       4

                                                       5    Dated this 5th day of May 2020                 Dated this 5th day of May 2020
                                                       6    SHUMWAY VAN                                    PRICE LAW GROUP
                                                       7
                                                             By: /s/ Garrett R. Chase                      By: /s/ Steven A. Alpert
                                                       8
                                                            Garrett R. Chase, Esq.                         Steven A. Alpert, Esq.
                                                       9    Nevada Bar No. 14498                           Nevada Bar No. 8353
                                                            8985 S. Eastern Avenue                         5940 S. Rainbow Blvd.
                                                      10    Suite 100                                      Suite 3014
                                                            Las Vegas, Nevada 89123                        Las Vegas, Nevada 89118
                                                      11    Phone: (702) 478-7770                          Phone: (702) 794-2008
Telephone: (702) 478-7770 Facsimile: (702) 478-7779




                                                            Email: garret@shumwayvan.com                   Email: alpert@pricelawgroup.com
                                                      12
                                                            Attorneys for Defendant                        Attorneys for Plaintiff
       8985 South Eastern Avenue, Suite 100




                                                      13    PlusFour, Inc.                                 Mark A. Smitherman.
             Las Vegas, Nevada 89123




                                                      14    Dated this 29th day of April 2020              Dated this 29th day of April 2020
                                                      15    CLARK HILL PLLC                                NAYLOR & BRASTER
                                                      16

                                                      17    By: /s/ Jeremy J. Thompson                     By: /s/ Jennifer L. Braster
                                                            Jeremy J. Thompson, Esq.                       Jennifer L. Braster, Esq.
                                                      18    Nevada Bar No. 12503                           Nevada Bar No. 9982
                                                            3800 Howard Hughes Parkway                     1050 Indigo Drive
                                                      19    Suite 500                                      Suite 200
                                                            Las Vegas, Nevada 89169                        Las Vegas, Nevada 89145
                                                      20    Phone: (702) 862-8300                          Phone(702) 420-7000
                                                      21    Email: jthompson@clarkhill.com                 Email: jbraster@naylorandbrasterlaw.com
                                                            Attorneys for Defendant                        Attorneys for Defendant
                                                      22    Equifax Information Services, LLC              Experian Information Solutions, Inc

                                                      23

                                                      24

                                                      25

                                                      26
                                                      27

                                                      28

                                                                                                    Page 3 of 4
                                                           Case 2:20-cv-00579-JCM-DJA Document 13
                                                                                               10 Filed 05/06/20
                                                                                                        05/05/20 Page 4 of 4


                                                       1                                          ORDER

                                                       2          IT IS SO ORDERED.
                                                       3

                                                       4         DATED   this
                                                                 Dated this   6th day
                                                                            ______ dayofofMay, 2020.
                                                                                          _______________, 2020.
                                                       5

                                                       6

                                                       7
                                                                                                   ____________________________________
                                                       8                                           UNITED STATES MAGISTRATE JUDGE
                                                       9   Submitted by:
                                                      10
                                                           SHUMWAY VAN
                                                      11
Telephone: (702) 478-7770 Facsimile: (702) 478-7779




                                                      12    By: /s/ Garrett R. Chase
       8985 South Eastern Avenue, Suite 100




                                                           Garrett R. Chase, Esq.
                                                      13   Nevada Bar No. 14498
             Las Vegas, Nevada 89123




                                                      14   8985 S. Eastern Avenue, Suite 100
                                                           Las Vegas, Nevada 89123
                                                      15   Phone: (702) 478-7770
                                                           Email: garret@shumwayvan.com
                                                      16   Attorneys for Defendant
                                                           PlusFour, Inc.
                                                      17

                                                      18

                                                      19

                                                      20

                                                      21

                                                      22

                                                      23

                                                      24

                                                      25

                                                      26
                                                      27

                                                      28

                                                                                                 Page 4 of 4
